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 Slzbmitted thi.s 18t.h day of Ma rch 2019 , for the purpose of

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 Kevin C . Fusco
 Maxwe1.1 Air Force Base
 Montgomery , AJu 36.
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